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                        Exhibit C1
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                        Exhibit C2
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                             Congress o f tbe @hitell States
                                        ZllJlafibington, B d 20525




                                      October 6,2006

Henry M. Paulson, Jr.
Secretary
Department of the Treasury
1500 Pennsylvania Ave., N.W.
Washington, D.C. 20220

Dear Mr. Secretary:

        I am writing to follow up on my letter of May 4,2006, to Secretary Snow, seeking review
by the Committee on Foreign Investment in the United States of the acquisition of Sequoia Voting
Systems by Smartmatic, a foreign-owned company. I believe this transaction raises exactly the sort
of foreign ownership issues that CFIUS is best positioned to examine for national security concerns.
As discussed below, publicly reported information about Smartmatic's ownership and about the
vulnerability of electronic voting machines to tampering raises serious concerns. I strongly urge
CFIUS to independently verify the information provided to American officials and the public by
SequoiaISmartmatic, and to take all appropriate measures to safeguard our national security.

        It is undisputed that Smartmatic is foreign-owned and it has acquired Sequoia, one of the
three major voting machine companies doing business in the U.S. According to a Sequoia press
release in May 2006 (copy attached) Sequoia voting machiies were used to record over 125 million
votes during the 2004 Presidential election in the United States. As we confront another election,
Americans deserve to know that the Administration has made sure that any foreign ownership of
voting machines poses no national security threat.

      Although many press reports have tried, it appears that it is not possible to discern the true
owners of Smartmatic from information available to the public. Smartmatic now acknowledges that
Antonio Mugica, a Venezuelan businessman, has a controlling interest in Smartmatic, but the
company-bas not revealed who all the other Smartmatic owners are. According to the press,
Smartmatic's owners are hidden through a web of off-shore private entities. (See attached articles.)

         The opaque nature of Smartmatic's ownership is particularlytroubling since Smartmatichas
been associated by the press with the Venezuelan government led by Hugo Chavez, which is openly
hostile to the United States. According to press reports, Smartrnatic shared a founder, officers,
directors and a principal place of business with Bizta, a company in which, according to Smartmatic,
the Venezuelan government previously held a 28% stake. Mugica is also a director of Bizta.




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   Henry M. Paulson, Jr.
   October 6, 2006
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According to Smartmatic press releases, (copies attached) Smartmatic and Bizta were part of the
consortium that received the government contract to provide the voting machines for the 2004
referendum election to recall Chavez as Venezuela's president, and have since been awarded other
contracts by the Venezuelan government.

        Smartmatic's possible connection to the Venezuelan government poses a potential national
security concern in the context of its acquisition of Sequoia because electronic voting machines are
susceptible to tampering and insiders are in the best position to engage in such tampering. The 2005
Government Accountability Office Report on electronic voting, GAO-05-956, and other private
sector studies consistently support this conclusion. Thus, the reports that Sequoia brought
Venezuelan nationals to the United States to work on the Chicago 2006 primary election raises
questions about whether these individuals are subject to direction from a foreign interest that might
pose a threat to the integrity of the election. Similarly, the use of Smartmatic software and machines
developed in Venezuela, such as the HAAT software that was at issue in Chicago, raises questions
as to whether this software is susceptible to manipulation by its unknown creators. Reportedly,
Smartmatic may soon be introducing into the United States the type of electronic voting machines
that were used (with Bizta software) in the controversial 2004 Venezuelan recall election, under the
label AVC Edge 11 Plus.

        In reviewing the Smartmatic acquisition of Sequoia, it is important that CFWS understand
the products and services that are of Venezuelan origin and evaluate Smartmatic's ownership to
determine who could have influence and control over these and other Sequoia products and services
that are in use or intended for use in U.S. elections. In light of Smartmatic's failure fully to answer
these questions to date, this issue demands the most thorough independent investigation by CFWS.

       Thank you for your consideration of this letter.

                                       Sincerely,




                                       Member of Congress                      u



Attachments
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                        Exhibit C3
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                                       The State of Texas

Elections Division                                                                      Phone: 512-463-5650
P.O. Box 12060                                                                            Fax: 512-475-281 l
Austin, Texas 78711-2060                                                       Dial 7-1-1 For Relay Services
www.sos.texas.gov                                                                    (800) 252-VOTE (8683)
                                            Ruth R. Hughs
                                           Secretary of State

  REPORT OF REVIEW OF DOMINION VOTING SYSTEMS DEMOCRACY SUITE 5.5-A

                                    PRELIMINARY STATEMENT

On October 2-3, 2019, Dominion Voting Systems ("Dominion" or the "Vendor") presented the
Democracy Suite 5.5-A system for examination and certification. The examination was conducted
in Austin, Texas. Pursuant to Sections 122.035(a) and (b) of the Texas Election Code, the Secretary
of State appointed the following examiners:

         1.       Mr.   Tom Watson, an expert in electronic data communication systems;
         2.       Mr.   Brian Mechler, an expert in electronic data communication systems;
         3.       Mr.   Brandon Hurley, an expert in election law and procedure; and
         4.       Mr.   Charles Pinney, an expert in election law and procedure.

Pursuant to Section 122.035(a), the Texas Attorney General appointed the following examiners:

         1.       Dr. Jim Sneeringer, an expert in electronic data communication systems; and
         2.       Mr. Ryan Vassar, an employee of the Texas Attorney General.

On October 2, 2019, Mr. Pinney, Mr. Mechler, and Dr. Sneeringer witnessed the installation of the
Democracy Suite 5.5-A software and firmware that the Office of the Texas Secretary of State (the
"Office") received directly from the Independent Testing Authority. The next day, Mr. Pinney
examined the accessibility components of the ImageCast X Ballot Marking Device.

On October 3, 2019, the Vendor demonstrated the Democracy Suite 5.5-A system and answered
questions presented by the examiners. Test ballots were then processed on each voting device. The
results were accumulated and later verified for accuracy by staff of the Secretary of State.

Examiner reports regarding the Democracy Suite 5.5-A system are attached hereto and incorporated
herein by this reference.

On December 27, 2019, pursuant to Section 122.0371 of the Texas Election Code, the Office held a
public hearing for interested persons to express views for or against the certification of the Democracy
Suite 5.5-A system.
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                   BRIEF DESCRIPTION OF DEMOCRACY SUITE 5.5-A

The Democracy Suite 5.5-A system is an updated version of the Democracy Suite 5.5 system,
which was denied certification by the Office on June 20, 2019. The Democracy Suite 5.5-A
system includes certain software and hardware updates to the Suite 5.5 version.

Democracy Suite 5.5-A has been evaluated at an accredited independent voting system laboratory
for conformance to the 2005 Voluntary Voting System Guidelines (VVSG). Democracy Suite
5.5-A was certified by the Election Assistance Commission (EAC) on January 30, 2019.

The components of Democracy Suite 5.5-A are as follows:

          Component                     Version                            Description
 EMS - Election                      5.5.12.1           Election Management System
 Management System
 ADJ - Adjudication                  5.5.8.1

 ICC - ImageCast Central             5.5.3.0002         Central scanner

 ICX - ImageCast X BMD               5.5.10.30          Ballot marking device

 ICP - ImageCast Precinct            5.5.3-0002         Precinct scanner


                                                FINDINGS

The following are the findings, based on written evidence submitted by the Vendor in support of its
application for certification, oral evidence presented at the examination, and the findings of the voting
system examiners as set out in their written reports.

The examiner reports identified multiple hardware and software issues that preclude the Office of the
Texas Secretary of State from determining that the Democracy Suite 5.5-A system satisfies each of
the voting-system requirements set forth in the Texas Election Code. Specifically, the examiner
reports raise concerns about whether the Democracy Suite 5.5-A system is suitable for its intended
purpose; operates efficiently and accurately; and is safe from fraudulent or unauthorized
manipulation. Therefore, the Democracy Suite 5.5-A system and corresponding hardware devices do
not meet the standards for certification prescribed by Section 122.001 of the Texas Election Code.




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                                       CONCLUSION

Accordingly, based upon the foregoing, I hereby deny certification of Dominion Voting Systems'
Democracy Suite 5.5-A system for use in Texas elections.


Signed under my hand and seal of office, this ~ d a y of½                2020.




                                           DEPUTY SECRETARY OF STATE




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Democracy Suite 5.5A
The Dominion Voting Systems Democracy Suite 5.5A election system (DVS) was re-examined
in Austin on October 2-3, 2019. The same system was examined in January 2019, but failed to
achieve certification at that time.

There were minor changes to the ICX firmware as outlined in the change notes. There were
updates to the messaging for staigh-tparty crossover and the button text. Another firmware
change was related to the removal of the ICX DRE configuration and it’s VVPAT. None of the
changes were material to the functionality or security of the system.

There were hardware changes. Notably, the ICX DRE and the ICX 15” tablet were removed.
The hardware and software considered for certification for this examination are listed in the
following table.

Proprietary/COTS Hardware/Software Components
Name                                 Version/Firmware #        Hardware
Election Management System (EMS)     5.5.12.1                  Dell PowerEdge R640
                                                               Server
Adjudication Services (ADJ)          5.5.8.1                   Dell Precision 3431
                                                               Workstation
ImageCast Central (ICC)              5.5.3.0002                Dell Optiplex 3050 AIO
                                                               Workstation
ICC Scanner                          DR-G1130 driver -         Canon DR-G1130
                                     version 1.2 SP6
ImageCast Precinct (ICP)             5.5.3-0002                PCOS-320C (proprietary
                                                               device)
ICP Ballot Box                       BOX-330A and              Stackable Molded
                                     BOX-341C                  Plastic and Foldable
                                                               Coroplast Plastic
ImageCast X BMD                      5.5.10.30 - Android 5.1   Avalue HID-21V-BTX
                                                               (21.5 in. screen-Prime)
ICX BMD Printers                     402dn                     HP LaserJet
ICP Ballot Box                       BOX-330A and              Stackable Molded
                                     BOX-341C                  Plastic and Foldable
                                                               Coroplast Plastic


For a complete detailed listing of the hardware and software components used in the 5.5A
system, please refer to the EAC certification Scope of Certification ​here.​




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Findings

The findings listed below are in addition to the findings reported on the first examination of the
5.5A system. Rather than repeat many of those here, the reader should review the report for the
first examination. If a finding for the second examination of a particular issue is different from
the first examination, it will be pointed out in this report. Some of the key findings are repeated
in this report.

   ●   The Technical Data Package (TDP) documentation provided appears to be accurate and
       complete. However, there is documentation for devices and other features which were
       not part of the Texas configuration. This could cause confusion for a jurisdiction.

   ●   The pre-marked and the manually voted test ballots were recorded and tallied correctly.

   ●   *​ There was a problem installing the Dominion software. A fresh install of the
       MS-Windows operating system software was required after the failure. Since the
       Dominion experts had difficulty installing their system, Dominion should be required to do
       the installation, or the installation program must be improved.

       Eventually, the software was built successfully. The release numbers on the devices and
       the EMS were verified to match the releases that were used for the EAC (U.S. Elections
       Assistance Commission) testing.

   ●   There are methods a jurisdiction can use to verify the integrity of the software/firmware
       programs (using hash codes). The methods are described in the document
       SystemIDGuide-5.5 f​ or each device, and the EMS.

       The method that Dominion provides to generate the hashes for the EMS programs on
       the server should be improved. It would be preferable that a read-only CD is provided
       that has a program to both generate and compare the hashes. The hashes generated by
       the testing lab should also be on the CD. This would simplify the operation so a
       jurisdiction could easily validate the software before and after each election.

       *​ Because it is difficult to verify, a jurisdiction may choose not to before and after an
       election.

   ●   The ICP precinct scanner can utilize either a plastic collapsible ballot box or a rolling
       plastic ballot box. They both have 3 bins: regular, write-in, and emergency. The ballot
       box styles have locks and two places to use security seals.

       The cardboard collapsible ballot box with the punch-out emergency slot was not included
       in this examination and should not be sold as part of the system.

   ●   The ICC scanner jammed when scanning a batch. The batch must be redone whenever
       this occurs.

   ●   No paper jams occurred on the ICP during the examination even though an attempt was
       made to cause one.



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●   *​ The messages on ICP display were visible only for about three seconds. One message
    said to press the “More” button for more information, but it quickly disappeared and the
    button could not be pressed. Messages should display until the user acknowledges.

●   *​ It was not necessary to get the Canon drivers for the ICC from Canon site. No
    explanation was given why this was necessary for the first examination.

●   The two ICX machines used in this examination were configured as BMD’s. The DRE
    configuration for an ICX was removed from the scope of certification.

●   Straight-party voting can be turned off in the EMS when creating the election definition.
    This will be necessary when the law eliminating straight-party selection is in effect.

●   The ICX BMD produces a printed summary ballot of the voter’s choices. The ballot 2D
    barcode is read by the ICP precinct scanner. A ballot image of the text of the voter
    choices is also created. The images can be used for an election audit.

●   Voter activation can be done on the ICX BMD by a poll worker, or on a standalone
    laptop using a pollbook application to create the voter activation cards.

●   The ICX BMD system warns a voter that there is a problem if the laser printer paper tray
    is ajar. The warning instructs the voter to seek help from a poll worker.

●   The ICX BMD can be used for curbside voting on a cart. It has an arm that can be used
    to extend the tablet into a vehicle. ​*​ ​However, using it for curbside voting would be
    difficult and could damage the machine if the pathway to the curb is not very smooth.

●   The ICP precinct scanner and ICX BMD can be used for a voting center. They are
    capable of providing all ballot styles. The collapsible ballot box is not appropriate for
    early voting because there is no cover to secure it at the end of the day.

●   When voting on the ICX BMD during the examination, some screens had only one race;
    other screens had two races. Because of this, it was not clear that there was a second
    race on the page. It would be clearer if the layout was consistent (i.e. one race per
    screen). The ballot designer in the EMS has an option for this.

●   *​ The ballot on the ICX BMD screens did not have the party affiliation next to the
    candidate names. It also did not translate the race names (i.e. Senator). The system is
    capable of providing both so it is not clear how this occurred.

    The audio ballot did have the race names which presumably came from the same data
    entered in the ballot designer. It is odd that the information was not displayed on the
    screen. An operator should be alerted to this by the ballot designer software even
    though it is likely to be discovered before election day.

●   *​ The
       ​   ethernet port is active on the ICX BMD during an election. It should be disabled
    when the machine is put into voting mode by the poll worker. This is an unnecessary
    open port during the voting period and could be used as an attack vector. An additional
    safeguard would be to automatically put the ICX in kiosk mode whenever the machine is
    open for voting.

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●   The ICP and ICC machines required an iButton dongle and the correct passcodes to
    access the poll worker and technician functions. Each type of iButton is programmed for
    a specific role.

    The ICX BMD machine requires a smart card and passcode. Session activation for the
    ICX is also done by a smart card. Each type of card is programmed for a specific role.
    Digital signatures are verified to match the signature in the election definition when the
    poll worker card or voter activation card is inserted.

●   No problems were encountered during the adjudication testing. The wrong path error
    which happened during the previous examination did not occur. A better design would
    be to include all important paths in the election definition to eliminate human error.

    *​ During the previous examination, the system could not recover from the wrong path
    error and adjudication had to be redone. This is unacceptable. At the very least, the
    system should recover gracefully.

●   *​ The Auditmark program keeps a record of all changes to a ballot during adjudication.
    Red boxes around a race indicates that the race needs to be adjudicated. The boxes
    were slightly offset from the race. It was necessary to look at the AuditMark view to verify
    the selection. This is unacceptable. The operator may not view the AuditMark record and
    adjudicate the wrong ballot and/or miss a ballot that need to be adjudicated.

●   The images from the ICP scanner were much clearer and were easy to read during
    adjudication. Dominion offered that reason the ICP images from the previous exam were
    unreadable was that 1) they were compressed, or 2) the scanner was damaged. The
    system should not have an option to compressed images if it renders them unreadable.
    Also, it does not seem likely that the unreadable images were caused by a damaged
    scanner. ​*​ ​There was not a definitive root cause given for the problem, so it could occur
    again.

●   Substantial training is essential to successful operation of the system. Dominion stated
    that training is customized for each customer. *​ ​ The
                                                        ​   Dominion experts had difficulty
    operating the system at times, training and experience is critical to prevent errors during
    the election. Therefore, significant training should be included in a purchase contract.

●   The server used for the examination was a rack mounted server. A rack mounted server
    would typically be in a room other than a room used for the central count. This could be
    a potential security risk since it is out of sight.

    A tower server can be purchased with the same internal chipset and disk storage as the
    rack mounted server used for the examination. This is preferred since it can operate in
    the same room as the scanner and workstations.

    The EMS software will run without the hardening script being applied. The following
    statement is from section 6.1.8 of the DemocracySuite System Security Specification
    document: “No​  other component with the Democracy Suite platform is ever connected to
    a public or County network, and procedures for malicious software protection are specific
    and differ from regular IT systems” . ​*​ ​However, the firewalls on the various central site

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       machines are not configured as part of the hardening procedures. This is left to the
       jurisdiction and since many jurisdictions do not have the expertise, the machines could
       be vulnerable to a rogue operator on a machine if the election LAN is not confined to just
       the machines used for the election. The machines should be configured to only allow
       networking between the server, central scanners, and the workstations use for the
       election system. No internet access or other machines should have access to the LAN.

   ●   The voting devices logs and ballot images, and the EMS logs contain the necessary
       information to audit an election.

       *​ However,
          ​        when a second USB drive was inserted into the ICX BMD, it was not logged.
       It was explained that the second drive would not be read by the software and therefore
       was not a risk of infecting the machine. The second USB drive may be ignored by the
       election software, but a non-DVS drive should not be allowed as the disk could contain a
       rogue program that could access the election files directly.

       Text from the security document (4.4 Monitoring System Access and Use) states:
       From the initial state of the election project, until the deactivation state, the EMS system
       maintains an activity log within the EMS Database. This activity log contains every action
       that any of the users have performed within the system and represents a detailed audit
       log that can be analyzed and printed in the form of an audit report. The audit record
       information cannot be modified or permanently deleted ​using the EMS client
       applications.

       *​ This implies that the log could be modified by a SQL tool. The integrity of the audit log
       is essential. Therefore, it is important that no database access tools, other than the
       election software, be installed on the EMS server. The database and the log files are
       encrypted which helps to prevent unauthorized, unlogged editing, but they could be
       deleted.

Conclusion
This examination went better overall than the last examination of the system, but many of the
problems remain that caused it to fail certification previously. There have only been de minimis
changes to the software since the previous examination. This is reflected by the same release
number. The de minimis changes and the removal of the ICX DRE device did not correct all the
problems stated in this and the previous report.

The Dominion experts still had problems installing the software. Therefore, installation cannot
be assumed to be correct when installed by a jurisdiction. There are too many problems (see ​*
above) installing and operating the system that cannot be mitigated by documentation and
training. Dominion should implement the improvements that have been suggested. It is
disappointing that the problems documented in the previous examination’s report were not read,
or not taken seriously.

The Dominion Democracy Suite 5.5A system does not meet the standards required by the
Texas Election Code. I ​do not ​recommend that it be certified.

Tom Watson - Examiner


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Voting System Examination of Dominion Voting
        Systems Democracy Suite 5.5-A
                           Brian Mechler, Technical Examiner
                            Exam Dates: October 2-3, 2019
                            Report Date: November 3, 2019

 1       Background
An examination of the Dominion Voting Systems Democracy Suite (D-Suite) 5.5-A was conducted at
the Texas Secretary of State Elections Division offices on October 2-3, 2019. D-Suite 5.5-A is a
comprehensive voting system which consists of the following components [1][2]:
     •   Election Management System (EMS) – the set of client and server applications and hardware
         used to define and manage elections including the tabulation and reporting of results.
     •   Adjudication – EMS server and client components responsible for ballot adjudication as well as
         reporting and generation of adjudicated result files.
     •   ImageCast Central (ICC) - A ballot scan tabulator and associated ballot processing application
         for use in central elections offices.
     •   ImageCast Precinct (ICP) - An optical scan ballot tabulator for use at polling places.
     •   ImageCast X (ICX) Ballot Marking Device (BMD) – Commercial off-the-shelf (COTS)
         hardware and operating system, which utilizes custom applications to act as aBMD.
The Election Assistance Commission (EAC) certification includes tables that describe in detail the
voting system software components, voting system platforms, and hardware components. [3].
On June 20, 2019, the State of Texas denied certification of Dominion Voting Systems D-Suite 5.5 [4].
This denial was based on findings from the January 16-17, 2019 examination for which I was present
[5]. Development of D-Suite 5.5-Awas already complete by the time Dominion received feedback
from the January exam of D-Suite 5.5. Thus, none of the changes in D-Suite 5.5-Awere intended to
address the issues raised during the January exam. The following is the complete list of changes
between D-Suite 5.5-Aand 5.5 [6]:
     •   “Modification to ICX straight party behavior to show amodal pop-up window when a voter
         attempts to undervote apartisan contest after selecting apartisan choice in the straight party
         contest; the pop-up clarifies that the voter needs to remove their straight-party vote and
         manually vote all partisan contests if they wish for one or more of those contests affected by the
         straight party vote to be undervoted”
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     •   “Updated default ICX localizations to change wording of final voter session wording to reflect
         that the ballot is being printed rather than cast”
     •   “Removed the ICX DRE configuration as it was notrequired by the State of Pennsylvania”
     •   “Removed the ICX Classic 15”model for marketing purposes”
     •   “Used MCF v5.5.10.19 (EMS 5.5 default configuration file for the ICX) as changes to MCF
         v5.5.10.20 from D-Suite 5.5 were related to VVPAT printer component and not relevant to the
         5.5-A system configuration”
In addition to the above changes, D-Suite 5.5-Asignificantly reduced the number of hardware
configurations available compared to D-Suite 5.5.
     •   The Express EMS hardware configuration is notoffered, only the Standard client-server
         configuration.
     •   The ICX Prime BMD is the only available voting machine; all ICX Classic platforms, ICX
         Prime DRE, and ICX Prime DRE with VVPAT are notwithin the scope of certification for D-
         Suite 5.5-A.
The Secretary of State Elections Division obtained the software and firmware (FW) images used in the
EAC certification directly from the EAC. Dominion personnel used those same files to perform
installation under the supervision of the technical examiners. In [7], Dominion provides instructions for
the identification and verification of the components included in D-Suite 5.5-A.
The examination also consisted of an accessibility test, vendor presentations and demos, a mock
election, and a free-form session where examiners could ask follow-up questions and use the voting
equipment in an unscripted manner.
I was notpresent for the accessibility portion of the exam. ADA compliance will be presented in the
legal examiners’ reports. A detailed description of the Texas Secretary of State examination, including
my observations, concerns, and recommendations, is presented in the sections that follow.


 2       Election Management System
The EMS is the set of client and server hardware and associated software used in pre-voting and post-
voting activities.
The Standard EMS configuration is the only one available in D-Suite 5.5-A. The Standard
configuration consists of a Dell PowerEdge R640 Server and one or more Dell Precision 3431
Workstations [8]. The server uses Microsoft Windows Server 2012 R2 as its OS and the workstations
run on Microsoft Windows 10 Professional.
The server is configured with dual 1-TB hard drives in RAID 1 mode and four 1-TB hard drives in
RAID 10 mode for data redundancy.
The server, EMS workstations, and ICC workstation communicate over a network switch that is
provided by Dominion. The server host operates aDHCP server with astatic pool of IP addresses. The
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EMS system must be operated within its own isolated private network (i.e. not connected to any public
or other internal networks). It should connected only to other components of the certified configuration.
The EMS system creates media for the voting and tabulating equipment. CFast cards are used to load
election definitions on to the ImageCast Precinct. USB thumb drives are used to load election
definitions on to the ICX BMD. The EMS system also creates iButton keys and SmartCards for two-
factor authentication.
Backend applications and services are installed on the server hardware, and end-user applications (and
some supporting services) are installed on the client workstations. In [2], Dominion describes the major
software components:
   •   EMS Adjudication - “Server and client components responsible for adjudication, including
       reporting and generation of adjudicated result files from ImageCast Central tabulators.”
   •   EMS AIMS Data Translator - “End-user application that transfers election definitions from
       Democracy Suite to EMS to AIMS, enabling users to program AutoMARK devices for
       ImageCast ballots.”
   •   EMS Application Server - “Server side application responsible for executing long running
       processes, such as rendering ballots, generating audio files and election files, etc.”
   •   EMS Audio Studio - “End-user helper application used to record audio files for a given election
       project. As such, it is utilized during the pre-voting phase of the election cycle.”
   •   EMS Data Center Manager - “System level configuration application used in EMS back-end
       data center configuration.”
   •   EMS Database Server - “Server side RDBMS repository of the election project database which
       holds all the election project data, including pre-voting and post-voting data.”
   •   EMS Election Data Exchange Station (EDES) - “End-user helper application used to program
       the memory cards and iButton security keys required to properly operate the ImageCast series
       of counting devices. As such, it is utilized during the pre-voting phase of the election cycle.”
   •   EMS Election Data Translator - “End-user application used to export election data fromelection
       project and import election data into election project.”
   •   EMS Election Event Designer - “Integrates election definition functionality together with ballot
       styling capabilities and represents amain pre-voting phase end-user application.”
   •   EMS File System Service - “Stand-alone service that runson client machines, enabling access
       to low level operating system API for partitioning CF cards, reading raw partition on ICP CF
       card, etc.”
   •   EMS NAS Server - “Server side file repository of the election project file based artifacts, such
       as ballots, audio files, reports, log files, election files, etc.”
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   •    EMS Results Tally and Reporting - “Integrates election results acquisition, validation,
        tabulation, reporting, and publishing capabilities and represents amain post-voting phase end-
        user application.”
   •    EMS Result Transfer Manager - “Stand-alone application used to transfer result files fromthe
        remote locations to one or more central locations where the results can be tallied and reported
        on.”
   •    EMSLogger - “a stand-alone application that runs on client or server machines and is used to
        gather diagnostics for troubleshooting.”
   •    Smart Card Helper service - “Installed on a workstation or laptop at the polling place, and
        provides required data format for programming smart cards for ImageCast devices, or, for
        jurisdiction’s voting registration system in case of integration.”
   •    ImageCast Voter Activation application - Installed on aworkstation or laptop at the polling
        place, that allows the poll workers to program smart cards for voters. The smart cards are used
        to activate voting sessions on ImageCast X.”
Version numbers for the D-Suite 5.5-A EMS software components are the same as those included with
D-Suite 5.5 [3][9].


2.1 Observations
The use of most of the EMS software components was notdirectly observed by examiners during the
mock election and free-form portion of the exam. The following subsections will cover the installation
process and components which were directly observed or responsible for issues during the exam.

2.1.1          Installation
Examiners witnessed Dominion personnel install the server and client software components. The
installation process is very complex and requires the manual entry of certain paths and host names.
Dominion provides acustom installation helper application which allows the user to navigate to and
launch installers for individual components. Those components are notnecessarily presented in order
within the installation helper application. There is apoint during the install process where the user must
divert fromusing Dominion’s custom installer to install certain 3rd party prerequisites from DVD. Users
must take great care to follow the exact installation instructions provided by Dominion. Though
hyperlinks are provided in the documentation to help the user navigate from onestep to the next,
instructions are notpresented in order within the documentation and, in fact, are spread across multiple
documents.
A problem was encountered during the installation of Adjudication Services on the server. The only
way to resolve this issue was to wipe the server clean with a fresh installation of the operating system
(as well as all of the prerequisites up to that point). According to Dominion personnel, the server
hardware should have been rebooted prior to installing Adjudication services. As aresult of missing
that step, the installation of the EMS was delayed by hours.
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2.1.2          Election Event Designer (EED)
The Secretary of State’s office provided Dominion with election data for the mock election portion of
the exam. Prior to the exam, Dominion used EED to create paper ballots as well as election definitions
for the ICC, ICP, and ICX. The election definition for the ICX includes the touchscreen representation
of the ballot.
Aside from the misspelling of one candidate’s name, there were no issues with the paper ballot.
However, the touchscreen ballot had multiple errors beyond the simple spelling mistake. Party
affiliations were notlisted next to candidate’s names, voting instructions specific to each contest were
missing, and ballot proposition language was missing. In addition, the wording of the instruction on the
final screen of the ballot instructed the voter to “cast” their ballot instead of printing it. Note that this
was oneof the very small number of changes that was supposed to have been picked up in this revision
of D-Suite.
When asked, Dominion stated that this election definition had been put through an internal logic and
accuracy (L&A) test prior to the exam. Yet noneof these issues were caught.
After the mock election portion of the exam, Dominion personnel created anew election definition to
show that they could fix all of the errors and misconfigurations, and it appeared that they did.
Similar to the install process, it appears that EED is overly complex and fragile. Many troubling
questions come to mind. If Dominion personnel, theoretically the most expert users of this software,
can create an election definition with so many glaring errors, how error-prone will the system be for
jurisdictions that optto create their own election definitions? What level of service will jurisdictions
receive if they outsource the creation of election definitions to Dominion? One would assume that a
certification exam sets the benchmark for the quality of service vendors provide to jurisdictions.

2.1.3          Adjudication
Examiners adjudicated hand marked ballots scanned on the ImageCast Central. The Adjudication user
interface displays the scanned ballot image and highlights the machine interpretation of voter intent in
green (see Figure 1). These green bars were occasionally offset fromwhere the chosen candidates
appeared on the ballot creating a confusing and frustrating user experience (see Figure 2). The
highlighting feature can be disabled should users find it to be counterproductive.
In the January exam of D-Suite 5.5, examiners witnessed a crash of Adjudication Services due
ostensibly to amisconfigured path. The crash of Adjudication Services required the readjudication of
all previously adjudicated ballots. This issue did notoccur during the exam of D-Suite 5.5-A. However,
since there were no changes made to the Adjudication software, this issue could arise again.
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Figure 1: Properly Aligned Visual Aid
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Figure 2: Misaligned Visual Aid


   2.1.4         Results Tally and Reporting (RTR)
  RTR was used to tally votes and produce reports fromthe mock election. No issues were observed.
  Votes were tallied and reported accurately.


   3       Scanners
  D-Suite 5.5-A includes two ballot scanners. The ImageCast Central (ICC) is for use at the jurisdiction’s
  central office and is typically used to scan mail-in ballots. ImageCast Precint (ICP) is apolling place
  scanner. The ICC and ICP can both process hand-marked and machine-marked ballots.


   3.1 ImageCast Central
  The ICC utilizes aCOTS Canon DR-G1130 scanner connected to a Dell Optiplex 3050 AIO
  Workstation. The workstation runs Windows 10 (64-bit) Professional edition as its OS. The ICC
  workstation can beconnected over the isolated private network to the EMS server. If connected to the
  server, the ICC can be configured to save scanned ballot images and cast vote records (CVRs) on both
  the ICC workstation and the EMS server.
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The Canon DR-G1130 has afeeder capacity of 500 sheets. It can scan one hundred 8.5”x11” pages per
minute. Ballot stock in lengths ranging from 11” to 22”can be used.
An iButton security key is required for two-factor authentication, decryption of election files, and
encryption of results files.
The ICC can beconfigured to reject ballots that have issues, such as ambiguous marks and under/over
votes.

3.1.1          Observations
Examiners observed the installation of the ICC workstation software and there were no notable issues
with this process.
During the mock election, examiners observed the processing of ballots through the ICC. The ICC
properly rejected ballots that did not meet the criteria of the loaded configuration. There is some
latency between the scanning of the ballot and the detection of an issue. As aresult, a handful of ballots
are scanned subsequent to the problem ballot. However, the ICC workstation application correctly
informs the user of how many ballots need to berescanned. The ICC jammed once during the
processing. When the ICC encounters apaper jam, the entire batch must berescanned.


3.2 ImageCast Precinct
The ICP is acustom hardware device with a scanner, integrated thermal printer, and LCD touchscreen.
When a voter is finished marking their ballot (either by hand or using the ICX BMD), they insert it into
the ICP where it is scanned and deposited into the ballot box. The ICP can read ballots in any
orientation. Itcan be configured to reject ballots that have issues such as ambiguous marks and
under/over votes.
Firmware is loaded from aCFast card along with an iButton Administrator key for authentication.
Different iButton keys are required for other roles and actions. The iButton Administrator key is
provided by Dominion and color-coded so that it is notaccidentally confused with keys that are
reprogrammed across elections.
Election definitions are loaded via CFast cards and stored in internal memory. CVRs and scanned
images are stored on two CFast cards for data redundancy. Redundancy between the two cards is
checked after each file write and if the cards ever fall outof sync, the ICP will cease to operate as a
tabulator until the issue is resolved.

3.2.1          Observations
Examiners witnessed the installation of ICP firmware. The installation required the use of an iButton
Administrator key. The PIN associated with the iButton Administrator key is only 1-digit long and
cannot bechanged. Dominion should at the very least make the PIN more complex and preferably issue
keys protected by unique PINs.
The FW installer provides an option to install older versions of the ICP FW. According to Dominion,
this feature exists to support the recount of an election conducted under an older version. The problem
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with this feature is that jurisdictions would have the ability to install FW that has notreceived
certification in Texas. This is an unnecessary convenience that risks the use of anon-certified system in
an election. If jurisdictions have purchased older, certified versions of D-Suite, they should already
have the FW install files for that particular version. Alternately, they should be able to obtain those files
from Dominion.
During the free-form session of the exam, one of the examiners scanned apaper ballot with an
ambiguous ballot mark. The ICP properly rejected the ballot, butthe error messaged flashed so quickly
across the LCD screen that examiners could not easily determine the reason for rejection. When aballot
is rejected, the error message should persist on the LCD screen so the voter and/or poll worker can
determine what went wrong and resolve the issue.
Two different ballot box configurations were demonstrated. Both configurations provided adequate
ballot security.
Two identical ICP scanners were in use during this exam. Though D-Suite 5.5-Auses the same ICP FW
and HW as D-suite 5.5, examiners did not encounter issues with paper jams and poor quality images
this time around. Dominion’s best guess for the poor performance during the D-Suite 5.5 exam was that
the ICP unit used was defective or damaged during shipping.


 4     ImageCast-X Ballot Marking Device
The ICX BMD consists of custom software running on COTS hardware (Avalue HID-21V-BTX). The
Avalue tablet runsthe Android 5.1 OS. The tablet is connected to aHP M402dne COTS printer and
optionally an audio-tactile controller and LED indicator light.
Two-factor authentication is role-based and accomplished via ACOS-6-64 SmartCards. The
SmartCards authenticate oneof three roles; Technician, Poll Worker, and Voter.
Technician cards are used when loading the ICX applications on the tablet and when loading the
election definition files. Election definition files are stored on USB thumb drives; the election
definition files are nottransferred to the tablet’s internal memory. EED is capable of programming
Technician cards. A Technician card does notgrant access to election day related functions.
Poll Worker cards are programmed by EED. They give poll workers the ability to open/close polls,
extract audit logs, perform diagnostics tests, and manually activate voting sessions for voters. Election
definitions are encrypted when first loaded. Poll Worker cards hold the decryption key which decrypts
the election definition upon their first use. Every time aPoll Worker card is used, it verifies the digital
signature of the loaded election definition.
The Voter card is typically programmed at the polling place by poll workers using an ImageCast Voter
Activation workstation (a piece of hardware that is outside the scope of this certification exam). The
Voter card is provided to voters so they can activate their own voting sessions. The Voter card only
activates the ballot specific to the voter’s precint. After it has been used to print aballot, the Voter card
cannot beused again until it has been reprogrammed by a poll worker.
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4.1 Observations
Installation of the ICX application by Dominion personnel was witnessed by the examiners. A
Technician card is required to install the ICX application. A Technician card is notrequired to install
other applications. The technician must manually put the ICX tablet in kiosk mode after installing the
ICX application. If one has access to ICX data ports, kiosk mode the only thing preventing someone
from installing non-certified software. Only auser with Technician card credentials can take the ICX
out of kiosk mode. In this exam, and in the January D-Suite 5.5 exam, Dominion personnel failed to
place voting machines in kiosk mode after installing the ICX application. This critical step needs to
receive greater focus in Dominion’s internal training.
Examiners used the ICX BMD to mark ballots during the mock election. The touchscreen user interface
is intuitive and easy to navigate. Any difficulty experienced marking aballot was dueto the
misconfigured election definition (detail provided in Section 2.1.2).
In my report of the D-Suite 5.5 exam, I found that hasp seals insufficiently secured the doors protecting
data and network ports. During the 5.5-A exam, Dominion recommend the use of tamper-evident
adhesive seals to secure the doors. This is avery good recommendation. In fact, the same
recommendation can be found in the ICX System Operation Procedures manual [12]. However, the
ICX User Guide [13] is vague on whether adhesive seals should be used in addition to hasp seals. With
regard to securing the doors, the Democracy Suite System Security Specification [14] simply refers the
reader to the COTS manual [15]. The Avalue HID-21V-BTX manual only recommends hasp seals to
secure the doors. Dominion needs to provide consistent guidance across all of their documentation
regarding physical security of ICX devices.
A new hardware peripheral in the form of a COTS LED indicator light was demonstrated. The LED
indicator provides voting system status to poll workers without violating the privacy of voters. In
theory this would be awelcome feature. Unfortunately, this new peripheral exposed asecured USB
port. The LED light is controlled by a detachable USB-C cable (see Figure 3). In [16], Dominion
recommended two mitigation options (I recommend the latter):
     •   “Seal the connection between the LED light and the USB cable”
     •   “Remove the LED light from the Texas configuration altogether”
One issue with relying heavily on COTS equipment in the polling place is that often the end-use is not
envisioned by the original COTS product designers. The Avalue tablet is agood example of this
disconnect. Door 3 of the device secures DC in/out ports, the power button, and a USB port. Due to the
presence of the USB port, this door must besealed at all times during an election. During early voting,
poll workers will have to break and replace this seal at the beginning of each day to power on the
device.
It was discovered during an informal test that if a USB peripheral were added while the Avalue device
was powered off, users of ICX (even those with Poll Worker card access) would not bemade aware of
the configuration change. The “Hardware Details” diagnostic provided by the Poll Worker menu only
checks the status of defined peripherals (i.e. the printer, LED, and audio-tactile interface). Audit logs
can be viewed on-screen, but those logs do not contain the level of detail necessary to discover the
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presence of anon-certified device. Only the system logs capture enough detail to detect the addition of
non-certified USB devices. The system logs are nottypically exported and examined each day during
early voting.
In the 5.5-A configuration, the ICX can only be operated in BMD mode; thus it does notcreate or store
CVRs. It’s unlikely someone could significantly alter the outcome of an election via this vulnerability
(assuming voters carefully review their marked ballots). However, voter confidence in elections
systems is acritical component of democracy. Evidence of tampering on even one system undermines
this confidence. After this discovery, Dominion recommended the use of aserialized port lock or a non-
residue tape seal to secure the USB port behind Door 3 [16].
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 5      ImageCast Voter Activation (ICVA)
ICVA is an application that runs on alaptop or workstation located at the polling place. It is used to
program Voter SmartCards that can activate voting sessions on ICX devices.


5.1 Observations
The ICVA software and hardware are notwithin the scope of this certification exam. My observations
of this component will have no bearing on my recommendations regarding D-Suite 5.5-A.
Nevertheless, examiners witnessed the installation and use of this application. No issues were observed.
In general, voter activation stations such as ICVA can allow for amore streamlined polling place and
reduce the burden on poll workers.


 6      Conclusions
Multiple major issues are present in D-Suite 5.5-A (enumerated below):
     1. Complexity and fragility of the EMS installation process
     2. Complexity and fragility of the Election Event Designer revealed by multiple errors in the
        Dominion generated election definition file for the ICX BMD
     3. Inability to gracefully recover from acrash of Adjudication Services (no crashes were witnessed
        in this exam, but this EMS software component is identical to the onein D-Suite 5.5)
     4. Easily cracked PIN onTechnician iButton key
     5. ICP installer allows installation of non-certified firmware
     6. ICP’s unclear and buggy behavior in response to an ambiguous mark on ahand-marked ballot
     7. ICX LED indicator exposes an otherwise secured data port
     8. Unclear and insufficient guidance in technical data package regarding physical security of ICX
In aggregate, Issues 1-3 and prevent D-Suite 5.5-A from meeting Texas Voting System General
Requirement 122.001(a)(2): “Must besuitable for the purpose for which it is intended.”
In aggregate, Issues 1-3 and Issue 5 prevent D-Suite 5.5-A from meeting Texas Voting System General
Requirement 122.001(a)(3): “Operates safely, efficiently, and accurately and complies with the voting
system standards adopted by the EAC.”
If operated properly, D-Suite 5.5-Acould be asystem that operates safely, efficiently, and accurately.
However, we have notyet witnessed that even Dominion’s own subject matter experts can operate the
system properly. To beclear, the above statement is notan indictment of Dominion personnel. I found
the representatives at the exam to be courteous, professional, knowledgeable, and eager to answer
examiners’ questions and resolve issues. It is the EMS system itself that is difficult to work within.
Issues 4, 7, and 8 prevent D-Suite 5.5-A from meeting Texas Voting Systems General Requirement
122.001(a)(4): “Is safe from fraudulent or unauthorized manipulation.”
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Many of these issues could be resolved by placing conditions on the certification of D-Suite 5.5-A.
    •   Require that Dominion deliver EMS to customers on pre-imaged drives (resolves Issue 1)
    •   Require that Administrator iButton key be protected by sufficiently complex PIN (resolves
        Issue 4)
    •   Remove non-certified firmware versions from ICP installer (resolves Issue 5)
    •   Remove the ICX LED peripheral from the Texas certification (resolves Issue 7)
    •   Update documentation to provide clear and consistent guidance regarding physical security
        best practices (resolves Issue 8)
Ultimately, this set of conditions is too large to be considered de minimis. I recommend against
certification of Dominion Voting Systems Democracy Suite 5.5-A.
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[11]   Democracy Suite ImageCast Precinct Functionality Description, Version 5.5-A::176, Dec-12 2018

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                                      November 4, 2019

Mr. Keith Ingram
Director of Elections
Texas Secretary of State
Elections Division
208 East 10th Street
Austin, Texas 78711

       Re:    Inspection of the Dominion Voting Systems’ Democracy Suite 5.5-A conducted
              on October 2 and 3, 2019

Dear Mr. Ingram:

        Pursuant to my appointment by the Texas Secretary of State as a voting systems examiner
under TEXAS ELECTION CODE § 122.035, please allow this letter to serve as my report
concerning the above referenced examination. I, along with the other statutory examiners and
staff from the Secretary of State’s office, examined the Democracy Suite 5.5-A voting system
presented by Dominion Voting Systems ("Democracy 5.5-A System") on October 2 and 3,
2019, at the offices of Elections Division of the Texas Secretary of State in Austin, Texas.

       At the outset, it should be noted that the Democracy 5.5-A System is a derivation of the
5.5 System that Dominion previously submitted for examination in February of 2019. The
examiners reports (including mine) pointed out multiple concerns with the 5.5 System.
Dominion officials made clear that the only substantive change to the 5.5-A System from the 5.5
System was a change in the wording of the straight ticket voting language that has been one of
the points raised in the examiners previous reports. Dominion expressed that other issues raised
in the examiners’ previous reports were a result of potentially damaged equipment,
misunderstandings between the examiners and the previous Dominion officials that presented the
5.5 System and things that could not be explained since the Dominion presenters of the 5.5-A
System were not present at the 5.5 System examination. It should be noted that Dominion
removed the DRE device that was included in the 5.5 System from the 5.5-A System.

       I reviewed the written materials for the 5.5-A System before the October examination.
These documents appear to be substantially similar to the documentation for the 5.5 System. As
was the case with the 5.5 System documents, Dominion submitted updated versions of some of
the documents before the examination.




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        Although I was not present on the first day of the examination when the 5.5-A System
was built and installed, it appears Dominion had difficulties accomplishing the task. As a result,
Dominion officials had to re-install the operating system on some of its equipment and ran into
difficulties in getting the build completed.

       At the beginning of the second day of the examination, the vendor provided a general
overview of the Democracy 5.5-A System. It is a complete voting system that includes ballot
marking devices, ballot scanners, election tabulation and management software and supporting
devices for accessibility needs. The 5.5-A System does not include a DRE device. The primary
hardware and software components of the 5.5-A System are the same as the previously reviewed
5.5 System.

       ACCESSIBILITY TESTING

        Officials from the Secretary of State’s office tested the physical equipment of the
Democracy 5.5-A System for accessibility compliance with the applicable state laws and
regulations. These tests confirmed that the new components in the Democracy 5.5-A System
complied with the accessibility requirements of Texas law; however, officials from the
Secretary’s office noted that while using the non-audio voting portion of the system (i.e.- reading
items on a screen), only audio instructions were available and no written instructions were on the
screen. This raises issues with voters that want written instructions on the screen as part of their
voting experience. This same problem existed with the 5.5 System.

       TESTING OF HARDWARE AND SOFTWARE

        On October 3rd, the examiners and Secretary of State staff tested each piece of equipment
and software for security, functionality and accuracy. The examiners and staff cast a script of
ballots on each voting machine and paper ballots were fed into the optical scanners that were
marked by the ICX being used as a ballot marking n device and hand-marked ballots. The mock
votes were tabulated and sorted with the election software included in the Democracy 5.5-A
System.

       SPECIFIC ISSUES RAISED DURING THE INSPECTION

       1.      As was the case with THE 5.5 System, Some of the hardware in the Democracy
               5.5-A System can be connected to the internet through Ethernet ports.

       2.      The foldable ballot box offered with the Democracy 5.5 System could now be
               used in early voting because Dominion has developed a process to add a second
               lock to it that would mean two separate keyed locks would secure the box as
               required by Texas law.

       3.      In the 5.5 System examination, the rolling ballot box dividers for provisional or
               disputed ballot storage were not present. At that time, the vendor claimed such
               dividers were available. However, at the October examination of the 5.5-A
               System, Dominion officials explained that there was not a separate divider or



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          location within the ballot box for provisional ballots, so those ballots would need
          to be segregated in a separate envelope at the polling location.

     4.   Tamper seals and locks exist on the equipment; however, Dominion officials
          stated that the end-user (i.e. - Texas counties and other voting jurisdictions) had to
          implement procedures to make sure these security measures were effective.

     5.   As several questions arose during the examination, Dominion officials referred to
          a “best practices” document that was not part of the documentation provided to
          the examiners. Dominion officials claimed that the majority of the security
          concerns raised by the examiners were addressed by this document, but it was
          ultimately the responsibility of the end-users to make decisions and implement
          security measures they deemed appropriate.

     6.   Although more appropriate for the technical examiners to address, the server and
          other portions of the hardware and software used by the Dominion officials during
          the exam were not part of the equipment/programs listed in the certification
          application. However, it appears that these items may be necessary for a complete
          system that would be sold to Texas election end-users. This creates a conundrum
          concerning exactly what is being certified and what is being sold.

     7.   As was the case with the 5.5 System, the use of non-sequential numbered paper
          ballots as required by the Texas Constitution cannot be created within the
          Democracy 5.5-A System. Instead, the only way to comply with this requirement
          of the law would be to hand-write and/or pre-print paper with serial numbers in a
          range for the selected precinct and then manually intermingle the ballots so their
          numbers are not sequential.

     8.   The problems with the adjudication portion of the tabulation process in the 5.5
          System were dismissed by Dominion officials as a “bad path”; however,
          Dominion never showed why the bad path occurred or how it could be avoided
          end users. Also, the previous poor resolution on the scanner for some of the
          printed wording on the ballots was dismissed either as damaged equipment or a
          setting issue.


     GENERAL OBSERVATIONS

          A. While the previous examination of the 5.5 System and the current examination
             of the 5.5-A System are separate and distinct, it is clear that the two systems
             overlap in the sense that the issues with the 5.5 System should be addressed
             (or at least adequately explained) in the 5.5-A System examination. I do not
             think this was completely done.         Dominion officials dismissed several
             questions from the previous examination that were once again raised at the
             5.5-A System examination by stating “since we were not at the previous



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                   inspection, I am not sure I can speak to that issue.”      Several of these issues
                   were of critical concern.

               B. The build and installation process problems suggest that the 5.5-A System is
                  complicated and may not be easily built and installed by the end-users. There
                  was a discussion of purchased the 5.5-A System already installed; however,
                  that was not demonstrated to the examiners and, as presented, the on-site
                  installation would be required. The problems encountered by Dominion staff
                  indicate that the same problems may occur in the field. This leads to the
                  potential conclusion that the 5.5-A System is may not be suitable for its
                  intended purpose.

               C. Without question, one or more of the components of the 5.5-A System can be
                  connected to an external communication network and this can only be avoided
                  if the end-user takes the proper precautions to prevent such a connection.

               D. Many of the security features of the 5.5-A System are not automatic, but again
                  depend on the end-user following the best practices promoted by Dominion. I
                  believe that Texas law requires safety measures that protects against fraud or
                  unauthorized manipulation that provides the best possible protection. In my
                  opinion, leaving these security measures to the local jurisdiction is not in
                  alignment with this standard.

               E. As with the 5.5 System, The issues identified above could be corrected, but
                  those corrections should be made and the System represented before the
                  hardware and software components can be recommended for certification.


       RECOMMENDATION

         Based on the foregoing observations and my examination of the Democracy 5.5-A
System, its accompanying literature and the presentation made by Dominion officials both in its
literature and at the examination, I cannot recommend that the Democracy 5.5-A System be
certified as compliant with the requirements of the TEXAS ELECTION CODE and the TEXAS
ADMINISTRATIVE CODE. While the applicable code and statutes provide that “conditions” can be
suggested as a prerequisite to certification, I do not believe that the listing of conditions that need
to be addressed with the 5.5-A System would be appropriate since the conditions, if listed, would
require such a substantial re-work of the 5.5-A System that it would not be practical.

       This report should not be construed as a tacit or implied comment on any of the technical
aspects of the Democracy 5.5-A System except as expressly stated herein. In the event any of
the equipment, software or security devices examined are altered, changed or decertified by any
accrediting agency (other than a “minor modification qualified for administrative certification
process” as that term is defined in § 81.65 of the Texas Administrative Code), this report should
be considered withdrawn.




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       Thank you for the opportunity to serve as an examiner and participate in this important
process that ensures robust and safe voting systems in the State of Texas.




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                                     The State of Texas

Elections Division                                                                    Phone: 512-463-5650
P.O. Box 12060                                                                          Fax: 512-475-2811
Austin, Texas 78711-2060                                                     Dial 7-1-1 For Relay Services
www.sos.state.tx.us                                                                (800) 252-VOTE (8683)
                                         Secretary of State
                                          MEMORANDUM

TO:               Keith Ingram, Director of Elections, Texas Secretary of State

FROM:             Chuck Pinney, Staff Attorney, Elections Division, Texas Secretary of State

DATE:             November 4, 2019

RE:               Dominion Voting Systems – Democracy Suite 5.5-A Voting System Examination

In accordance with my appointment by the Texas Secretary of State as a voting system examiner
under Tex. Elec. Code §122.067, I present my report on the voting system examination which
took place on October 2-3, 2019, in the offices of the Texas Secretary of State at the James E.
Rudder Building, 1019 Brazos, Austin, Texas 78701.

On October 2-3, 2019, the examiners appointed by the Texas Secretary of State and the Texas
Attorney General examined Democracy Suite 5.5-A, a voting system that was presented by
Dominion Voting Systems (“Dominion”) for certification in Texas. The following hardware and
software components were examined at the Office of the Secretary of State:

 Component                                       Version         Previous Texas Certification Date
 EMS – Election Management System                5.5.12.1        None
 ADJ – Adjudication                              5.5.8.1         None
 ICC – ImageCast Central                         5.5.3.0002      None
 ICX – ImageCast X BMD                           5.5.10.30       None
 ICP – ImageCast Precinct                        5.5.3-0002      None

For the reasons outlined below, I am unable to recommend that this system be certified by the
Texas Secretary of State under Tex. Elec. Code §§122.031 and 122.039.

Background

Dominion Voting Systems previously sought certification in Texas for the Democracy Suite 5.5
voting system in January 2019. That certification was denied in June 2019.

The voting system that was the subject of this examination, Democracy Suite 5.5-A, was
certified by the U.S. Election Assistance Commission (“EAC”) on January 30, 2019.
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Summary of the Examination

The examination of Democracy Suite 5.5-A took place on October 2-3, 2019.

The first day of the exam involved the installation of the software and firmware for Democracy
Suite 5.5-A using of the trusted build provided to our office by the testing lab.

During the installation of the Adjudication software on the EMS server, the installation failed
multiple times. As a result, the system needed to be fully wiped and required a full reinstallation
of all EMS software, including the Windows operating system. The installation failed again on
the first attempt after the full reinstallation, but succeeded on the second attempt.

Before the beginning of the vendor presentation on the second day of the exam, I conducted the
accessibility testing and tested the visually impaired functions, the sip-and-puff controller, and
the paddle controller. The system performed well during the accessibility testing and presented
no issues.

On the second day of the exam, the vendor provided a presentation of the software and the
updates involved in the current version of Democracy Suite. The vendor noted that the only
difference between Democracy Suite 5.5 (which was denied certification in June 2019) and
Democracy Suite 5.5-A was an update to an instruction relating to straight-party voting on the
ICX Prime BMD. No other changes from Democracy Suite 5.5 were included in the update to
5.5-A.

After the vendor presentation, the examiners tested the equipment by voting a series of test
ballots and comparing the results of those test ballots. The examiners also conducted additional
testing on various components of the system.

Analysis

The standards for a voting system in Texas are outlined in Texas Election Code Chapter 122.
Specifically, the system may only be certified for use in Texas if it satisfies each of an
enumerated list of requirements contained in Texas Election Code §122.001. Because the
system does not satisfy each of those requirements, I would recommend against certification of
this system.

In the examination for Democracy Suite 5.5 that took place in January 2019, myself and the
other examiners noted a number of issues that led to each of us recommending that certification
for that system be denied. The system that we reviewed in this examination, Democracy Suite
5.5-A, did not contain any changes that addressed the issues identified in those examiner reports.
The system that we reviewed in this examination was certified by the EAC on January 30, 2019,
which was approximately two weeks before our examiner reports from the previous examination
were completed on February 16, 2019. Therefore, it is impossible for this system to have
addressed any issues in response to the issues raised in those examiner reports because this
version was finalized and certified by the EAC before those reports were ever published.
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Some of the issues we encountered in the previous exam could be attributed to errors in
presentation or configuration in the previous exam and were not reproduced in this exam. The
issue with image quality generated by the ImageCast Precinct in the previous exam did not occur
in this exam, and the vendor indicated that the issue that occurred in the previous exam may have
been caused by damage to that device in transit to the exam or due to the use of image
compression settings that were not enabled in this exam. Similarly, the printer tray issue that
occurred with the ICX Prime BMD in the previous exam did not occur in this exam, and the
device properly provided an error message that allowed the poll worker to fix the printer tray
issue without losing the voter’s cast ballot.

However, many of the general concerns about the system’s ability to be implemented by counties
with low technical expertise due to the complexity of the configuration and installation process
are still present. The fact that the only change between Democracy Suite 5.5 and Democracy
Suite 5.5-A was a change to a straight-party instruction message indicates that these issues and
other issues highlighted in the examiners’ reports were not addressed in this version of the
software.

Regardless of what occurred during the previous exam and the concerns that were raised during
that process, there were several issues that occurred during this exam that support my
recommendation against certification of this system:

    •    The installation process for the EMS software (including Adjudication) is incredibly
         complicated and is not intuitive for the user. The technician performed the install using
         the installation guide that was included in the vendor’s documentation. That
         documentation provided guidance on how to perform the installation, but the design of
         the system and the documentation was not intuitive.

         The system required the technician to manually install every component of the system
         (including individual system fonts) in a very specific order, but the design of the installer
         makes this a fairly confusing process for the technician. For example, at one point, the
         technician is required to install the second item on the install list, then the first, then the
         third for the system in that exact sequence for the installation to function properly. This
         is a questionable design choice that is indicative of several similar choices that creates
         unnecessary complications that are likely to confuse users and result in incorrect
         installation of system components.

         During the installation the system also generated default file pathways which the user
         was required to change to a different pathway identified in the installation
         documentation. The vendor indicated that there was no situation in which the default
         pathway provided by the installer would be used. While this is a relatively minor issue, it
         raises questions as to why the system did not generate the correct pathway by default, or
         why the installer would generate an incorrect pathway instead of leaving the field blank.
         This is just another example of a design choice that is unintuitive and could lead to
         configuration errors during setup by a political jurisdiction.
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    •    The installation of the Adjudication software failed on several occasions during the
         examination process. In an effort to address those failures, the technician referred to
         troubleshooting documentation and consulted with engineers from the vendor. These
         troubleshooting attempts included editing the system registries and other steps that could
         present issues for a user without substantial technical expertise. The vendor stated that
         the troubleshooting documentation used during this process was not part of the vendor’s
         Technical Data Package and is an internal document.

         After the first few failures, the vendor chose to wipe the software and operating system
         off the server system and conduct a full reinstallation of the Windows operating system
         and EMS software. The installation failed again one more time after the full
         reinstallation, but succeeded on the second attempt. The system took approximately 10-
         15 minutes to complete the phase of the installation that had failed on previous attempts
         after the same amount of time.

         The vendor stated that this installation error occurred because a reboot step was skipped
         in the initial installation. The vendor also indicated that this part of the installation
         process takes a long time and that the system may have timed out during the previous
         attempts. The issues experienced in this part of the process by the vendor’s own
         technical personnel raise concerns about the reliability of the system in general as well as
         the difficulty in installing and configuring this software.

    •    The ICX Prime BMD included an LED light to alert pollworkers to potential issues. That
         LED light was connected to the system via USB. During the examination process, one of
         the examiners was able to disconnect the LED light from the USB cable that connected it
         to the system without having to break any of the seals preventing physical access to the
         USB ports. The examiner was able to connect his cell phone to the voting machine using
         that exposed cable connection.

         It is unclear whether the system would have allowed any transferring of data or other
         malicious access to that device over that connection. The system did record that event in
         its audit logs, so there was at least a record of the incident occurring. However, it is
         concerning that the connection itself was available to expose the system to such access.

         The vendor recommended two possible forms of mitigation for this vulnerability, (1) that
         the connection between the LED light and the USB cable be sealed to prevent it from
         being disconnected, or (2) that the LED light be removed from the Texas configuration.

         If the system were certified, I would recommend that it be made conditional on the fact
         that this USB LED light or any similar device with an exposed connection cannot be used
         with the system.

    •    The ImageCast Precinct (ICP) has a few concerning issues. The firmware is installed
         using a 1 character pin code along with a physical technician key, and the pin code
         cannot be changed. While the physical key requirement alleviates part of the problem, it
         seems like an unnecessary security vulnerability to have such a rudimentary password
         requirement for a firmware installation.
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         The ICP also allows for the installation of firmware from prior versions of Democracy
         Suite which are not certified for use in Texas. This would theoretically allow a
         jurisdiction to install an uncertified version of the voting system during the firmware
         installation process. This feature should be removed, and any certification of this system
         should be made conditional on the vendor’s removal of that feature through an
         administrative modification process before that device could be used in Texas elections.

         The examiners also experienced an issue when trying to scan a ballot with an ambiguous
         mark through the ICP. The device correctly rejected the ballot, but the error message was
         only available while the ballot was still touching the portion of the scanner that catches
         the ballot, which only occurred in one of five tests. In the other tests, when the ballot was
         rejected the scanner pushed the ballot out so far that it was no longer touching that
         portion and the error message would disappear instantly. This design could create
         situations where voters’ ballots are rejected without the voter having an opportunity to
         view the relevant error message and find out what needed to be corrected.

    •    The system does not provide a software solution to address the ballot numbering
         requirements of Texas law. If certification were granted for this system, it would have to
         be made conditional on the jurisdiction’s use of hand-numbering devices or pre-printed
         ballot stock that complies with the ballot numbering requirements.

In theory, this system could be certified for use in Texas with a hefty list of conditions.
However, there would still be significant concerns with the reliability of the system and the
ability of Texas jurisdictions to configure and install the required software. Ultimately, I cannot
recommend a system that would require a long list of conditions in order for a jurisdiction to
adopt the system and still comply with Texas law and voting system standards.

The flaws and questionable design choices that were identified through this exam that indicate
that the system is not suitable for the purpose for which it is intended and therefore cannot be
certified for use in Texas under Texas Election Code 122.001(a)(2). In addition, the potential
security vulnerabilities that were identified in the exam indicate that the system may not be safe
from fraudulent or unauthorized manipulation, and therefore cannot be certified for use in Texas
under Texas Election Code 122.001(a)(4).

Conclusion and Recommendation

For the reasons outlined above, I am unable to recommend certification of this system.

If the system is certified, then that certification will need to be made conditional based on the
vendor’s and the jurisdiction’s compliance with several different conditions. However, the
conditions that would need to be imposed are so numerous and affect so many fundamental
aspects of the system that I am unable to recommend even a conditional certification of this
system.
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                             Voting System Examination
                              Dominion Voting Systems
                               Democracy Suite 5.5-A

                                    Prepared for the
                               Secretary of State of Texas

                               James Sneeringer, Ph.D.
                           Designee of the Attorney General

This report conveys the findings of the Attorney General's designee from an examination of the
equipment listed below.

Examination Date         October 2-3, 2019
Report Date              November 3, 2019

Components Examined
                                                      EAC/NASED Qualification
                                   Version              Number          Date
EMS - Election Management System   5.5.12.1         DVS-DemSuite5.5-A 1/30/2019
ADJ - Adjudication                  5.5.8.1         DVS-DemSuite5.5-A 1/30/2019
ICC - ImageCast Central          5.5.3.0002         DVS-DemSuite5.5-A 1/30/2019
ICP - ImageCast Precinct         5.5.3.0002         DVS-DemSuite5.5-A 1/30/2019
ICX - ImageCast X BMD             5.5.10.30         DVS-DemSuite5.5-A 1/30/2019

The Democracy Suite 5.5-A (or D-Suite 5.5-A) is a modern voting system that is new to Texas,
although D-Suite is in use in other states. A distinguishing feature is the extensive use of
commercial off-the-shelf components, or COTS components, to use the industry parlance. COTS
components are standard hardware or software products, as opposed to custom-made
components.

For example, the D-Suite voting terminals are commercially available Android tablets that
include the stand and the smart-card reader used for voter authentication. Similarly, the PCs,
networking gear, hard drives, printers, and some scanners are COTS components.

D-Suite Components
ImageCast X (or ICX) is the name of the line of voting stations, which all share identical
software. The X in the name highlights the interchangeability of the software and, in one case,
even the tablet hardware.

For this examination, Dominion is only seeking certification of one member of the ICX line – the
ImageCast X BMD. (BMD stands for ballot-marking device.) When a voter is finished making his
or her selections, the BMD prints the ballot on the attached printer but does not save the voter’s
choices on the device. Since these devices do not tabulate at all, they do not need zero-tapes,
precinct tallies, or the like. The printed ballot must then be scanned before it is counted. Each
ballot contains the cast-vote record in two formats: a QR code (for use by the scanner) and a

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printed, human-readable list (which can be visually verified by the voter). If there should be a
question about whether the two match, it can be easily verified by scanning the QR code on the
ballot and visually checking that it corresponds to the printed votes.

The voting stations are COTS Android tablets; they must be placed in kiosk mode, which
prevents access to the Android features during voting.

Election setup, tabulation, and other related tasks are done with mostly COTS components and
the proprietary EMS software. Most of the components are on a LAN (local area network), and
no other devices are to be connected to that LAN.

All election data and results are stored on self-encrypting hard drives and are also encrypted by
the database software, Microsoft SQL Server. The hard drives are redundant (RAID 10),
meaning that each piece of data is stored on two separate hard drives, so nothing is lost even if
one hard drive fails. There are two configurations, one that allows multiple client computers
connected to a single server computer, and one where everything is on the same computer. We
tested only the former, so the single-computer setup is not being certified. These computers run
a hardened Windows operating system.

Voting
Election Setup. Election setup (such as entering races and assigning candidates to them) is
done using a GUI (graphical user-interface) that is part of the Election Management System.

Authentication for election setup and central-count administration. D-Suite uses two-
factor authentication for administration. Access is granted only after both entering the correct
PIN and presenting a token, which will be either an iButton (see photos)
or a smart card, depending on the device. According to the vendor, an
iButton is more durable than a smart card, but they serve the same
purpose. In either case, the electronic token is created and encoded on
the iButton or smart card using the Election Management System.

Zero-total report. Zero totals are automatically printed by the scanners on paper tape. Note
that no zero report is needed for the ballot-marking devices (BMDs).

Ballot selection. Authorization to vote and ballot selection are done using smart cards
generated by the Election Management System. A poll worker enters the ballot style, and the
software writes it on a smart card in a secure way. The voter then takes the smart card to any
voting station to vote. The voter cards are automatically cleared after voting, so they cannot be
reused. Also, as a backup, a poll-worker card can be inserted into the voting station to allow
manual selection of the ballot style.




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                                          Voting. Voting is done on the touch screen of the
                                          ImageCast X BMD, or ballots can be marked manually.

                                          Transfer Results. Vote totals are transferred from the
                                          ICP precinct scanner to central count using a removable
                                          memory device.

                                          Print precinct results. Precinct results are printed by
                                          the precinct scanner on paper tape.

                                          Straight party / crossover. Straight-party voting
                                          and crossover voting both work properly.

Accessibility. Verification of accessibility is performed independently by the office of the
Secretary of State, but the examiners had the opportunity to see the accessibility components.

Comments
The use of many COTS components should reduce the cost of D-Suite significantly. If this
savings is passed on to the jurisdictions, then that’s a very significant advantage.

The optical scanner has a clever feature that appends to each ballot image an “audit mark” that
records in plain text how the ballot was interpreted by the scanner.

Although D-Suite can accommodate jurisdictions of all sizes, the client-server configuration
submitted for certification has a minimum of one server and one workstation. We did not
examine the single-computer configuration, which would be more appropriate for small counties.

Problems Identified in the Prior Exam on January 16-17, 2019
Crossover Votes. In the January exam we saw a problem with handling crossover votes after
a straight-party selection. Dominion has fixed that problem.

Adjudication results can be lost. In the January exam, during adjudication of the ballots in
the test election, one of the Dominion representatives made a series of mistakes that caused the
entire batch of adjudication results to be lost. We did not see this problem again during this
exam, but the adjudication system is unchanged, so this vulnerability is still present.

Recommendation: Certification should be denied.

DRE station failure. Examiner Brian Mechler discovered in January that simply unplugging and
reconnecting the cord that supplies power to the VVPAT from the Android tablet will usually
cause the tablet to fail. Since Dominion is not submitting their DRE station for certification, this
problem is not relevant to this exam.

Voter May have to Start Over. In January the printer tray became ajar during voting, and the
system did not notice until the voter attempted to cast his ballot. The system would not accept
the ballot and all the voter’s choices were lost. A poll worker card was required to clear the
problem. In this exam, we were unable to reproduce this problem, so perhaps it was fixed by
the software upgrade.


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Concerns
        1. Installation is complex, error prone, and tedious. I counted 184 steps in their
installation manual before deciding to estimate the remaining steps. I estimate a total of about
500 steps are required to install the software. I did not count steps that merely said something
like “Click OK” or “Click Next.” This installation manual is 412 pages long with an additional 23
pages of front matter -- contents, lists of figures, and the like.

Some of these steps were quite simple, but some were lengthy with several “if” clauses. Here is
a sample step:

      In the Command Prompt, run the following command, where X is the drive letter of the
      DVD-ROM drive where the Windows installation media is located:

             Dism /online /enable-feature /featurename:NetFx3 /All /Source:X:nsourcesnsxs
             /LimitAccess

According to the Dominion representatives, there are eight Windows services that must be
started in a certain order; however, the order that steps must be done is not the same as the
order they appear on the menus of the Dominion product.

The installation we witnessed took all day. Apparently, a mistake was made (accidently skipping
one of the reboot steps) and the Dominion representatives, although clearly knowledgeable,
were not able to recover before we broke for lunch. This was despite telephone consultations
with other Dominion experts and the use of a troubleshooting guide that Dominion declined to
make available to the examiners. Over lunch they decided to start the installation over, and it
was successful the second time, finishing before the end of the day. Altogether, the installation
took about 8 hours.

Recommendation: Certification should be denied.

       2. Test Voting. During our voting test, we discovered that some party names and
proposition text were not displayed, and one scanner was not accepting some ballots. These all
turned out to be errors Dominion made in setting up the standard test election used by the
Secretary of State. In the case of the scanner, it had accidently been configured not to accept
machine-marked ballots. The other problems were caused by leaving some fields empty during
election setup, something that the EMS software should not allow, or at least highlight.

Recommendation: Certification should be denied.

      3. Misleading Message. The ballot-marking devices incorrectly informed voters that
they were casting their ballots, when in fact they were only printing them. The ballots are not
be counted until they were scanned on a different device.

Recommendation: Certification should be denied.

       4. Disappearing Message. At one point while scanning ballots, something flashed on
the display so briefly we could not read it. After several attempts to re-scan the ballot, we were
able to discern that it was a message reading “Ambiguous Marks” that was displayed for a
second or less. It then reverts to the “System Ready” message. The voter has no way of
knowing what, if anything, is wrong since the error message does not persist long enough to
read it.

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Furthermore, the message is confusing. It would be better to say something like “Cannot read
ballot.”

Recommendation: Certification should be denied.

        5. USB Port Vulnerability. The ICX ballot-
marking device has an indicator light on top to
show poll workers when the station is in use. That
light is connected by a USB port.

When Brian Mechler’s phone was attached to the
USB port, the ICX scanned the files on his phone
and did not complain, although Dominion later
showed that the event was logged. When a USB
drive with files was inserted, the ICX sometimes
complained and sometimes did not, apparently
according to the content of the USB drive and
whether it was present when the ICX was first
powered up or inserted later.

Recommendation: Certification should be denied
unless either (a) the indicator light is removed from
the certified configuration or (b) a way is found to
secure the USB connection to the light.

Conclusion
I like the idea of using COTS components to save
taxpayer money, and Dominion has done a good
job of finding COTS components and minimizing the number of custom components.

Nevertheless, I cannot recommend certification. Computer systems should be designed to
prevent or detect human error whenever possible and minimize the consequences of both
human mistakes and equipment failure. Instead the Democracy Suite 5.5-A is fragile and error
prone. In my opinion it should not be certified for use in Texas.

If certification should be granted, it should be with the condition that all open network and USB
ports be sealed.




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                                             KEN PAXTON
                                        ATTORNEY GENERAL 01' TEXAS



November 4, 2019

Mr. Keith Ingram
Director of Elections. Texas Secretary of State
Elections Division
P.O. Box 12060
Austin, Texas 78711-2060

Re:      Dominion Voting Democracy Suite 5.5-A-Examination October 2-3, 2019

Dear Mr. Ingram:

Pursuant to Texas Election Code§ 122.036 and 1 Texas Administrative Code§ 81.60. by this letter
I am transmitting my examiner·s report for the Secretary of State·s October 2-3. 2019 voting
system examination. The subject of that examination was Dominion Voting (--Dominion..) voting
system Democracy Suite 5.5-A.
The factual background for this report includes Dominion·s presentation to the examiners during
an examination at the Secretary of State·s office and statements made by Dominion·s
representatives during that examination and in response to questions raised by the examiners after
that examination.
Both during and after the examination, the examiners raised specific concerns about legal
compliance. including numerous technical and mechanical issues. Because these concerns at
minimum suggest the system is not suitable for its intended purpose. Texas Election Code
§ 122.00l(a)(2). and does not operate effici�ntly and accurately, id. § 122.001(a)(3). I do not
recommend the Dominion Democracy Suite 5.5-A be certified at this time. Confidence in these
key areas is necessary to ensure the system operates as required by the Texas Election Code.




cc:      Charles Pinney. Secretary of State·s Office




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                         Exhibit C4
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                                                                                    2020 ELECTION SECURITY—PERSPECTIVES FROM
                                                                                       VOTING SYSTEM VENDORS AND EXPERTS



                                                                                                                   HEARING
                                                                                                                           BEFORE THE


                                                                                              COMMITTEE ON HOUSE
                                                                                                 ADMINISTRATION
                                                                                            HOUSE OF REPRESENTATIVES
                                                                                                 ONE HUNDRED SIXTEENTH CONGRESS
                                                                                                                        SECOND SESSION


                                                                                                                        JANUARY 9, 2020


                                                                                           Printed for the use of the Committee on House Administration




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                                                                                    2020 ELECTION SECURITY—PERSPECTIVES FROM
                                                                                       VOTING SYSTEM VENDORS AND EXPERTS



                                                                                                                   HEARING
                                                                                                                           BEFORE THE


                                                                                                COMMITTEE ON HOUSE
                                                                                                   ADMINISTRATION
                                                                                              HOUSE OF REPRESENTATIVES
                                                                                                 ONE HUNDRED SIXTEENTH CONGRESS
                                                                                                                        SECOND SESSION


                                                                                                                        JANUARY 9, 2020


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                                                                                                            COMMITTEE    ON   HOUSE ADMINISTRATION
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                                                                                    The CHAIRPERSON. Thank you very much.
                                                                                    We’d be pleased to hear from you, Mr. Poulos.
                                                                                                            TESTIMONY OF JOHN POULOS
                                                                                  Mr. POULOS. Thank you very much. Chairperson Lofgren, Rank-
                                                                               ing Member Davis, and distinguished Members of the Committee,
                                                                               thank you for the opportunity to testify today. My name is John
                                                                               Poulos, and I’m the Chief Executive Officer of Dominion Voting
                                                                               Systems. We are a U.S.-owned company that currently provides
                                                                               voting systems and services to jurisdictions across 30 States and
                                                                               Puerto Rico.
                                                                                  I agree with the importance of this—of the issues being raised
                                                                               by the Chairperson and Ranking Member regarding election secu-
                                                                               rity and integrity at today’s hearing. American elections safeguard
                                                                               and preserve the freedoms and rights guaranteed by the U.S. Con-
                                                                               stitution. At Dominion, we take pride in our small role in assuring
                                                                               voters that they can have confidence in election results. We go to
                                                                               work every day understanding this important responsibility.
                                                                                  By way of background, I formed the company with my partners
                                                                               in 2003 as an engineer and entrepreneur living in Silicon Valley.
                                                                               We were one of 76 new entrants innovating in the post-HAVA era,
                                                                               and we are one of the only ones independently operating of those
                                                                               76 in the industry today.
                                                                                  Dominion was founded on three key pillars: security, trans-
                                                                               parency, and accessibility. The company abides by these principles
                                                                               to this day, driving innovations and advancements for auditability
                                                                               and resilience directed by Federal, State, and local election offi-
                                                                               cials.
                                                                                  Supporting elections is a full-time proposition for our company.
                                                                               This past year alone, Dominion assisted State and local election of-
                                                                               ficials in conducting nearly 300 elections complete with the rig-
                                                                               orous public scrutiny that comes with it. Dominion is constantly in-
                                                                               novating and certifying enhancements and new features per State
                                                                               and local requirements. For 2020, we have been working closely
                                                                               with jurisdictions seeking to upgrade their voting systems. Older,
                                                                               end-of-life technology is being replaced with certified solutions that
                                                                               produce paper records for auditing and resilience. This comports
                                                                               with recommendations by DHS.
                                                                                  Consistent with our founding tenets, Dominion works hard to
                                                                               promote a company culture of security. This starts with our people,
                                                                               including annual mandatory background checks and cybersecurity
                                                                               awareness training for every employee in the company. It includes
                                                                               companywide adoption of advanced digital protections and a de-
                                                                               fense-in depth approach to cybersecurity. Moreover, we actively en-
                                                                               gage with the EAC, DHS, and other trusted third parties to main-
                                                                               tain and enhance our enterprise security, including potential sup-
                                                                               ply chain risks.
                                                                                  Finally, we meet all independent testing requirements, including
                                                                               EAC standards developed in conjunction with NIST and require-
                                                                               ments set forth by individual States. This includes source code re-
                                                                               views, penetration testing, and post-election audits.
                                                                                  In terms of transparency, Dominion systems fully support inde-
                                                                               pendent third-party audits and reviews of all election data. For ex-
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                                                                               ample, in 2018, the State of Colorado used Dominion systems in




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                                                                               conducting the first statewide risk-limiting audit in the United
                                                                               States. This effort was so successful, it has become a benchmark
                                                                               for other States in verifying with high confidence that equipment
                                                                               tallies are accurate and reliable.
                                                                                  To round out our company mission, we are committed to voter ac-
                                                                               cessibility. Our systems ensure Federal protections for privacy and
                                                                               equal voting rights and ballot casting options for all, including
                                                                               American servicemembers abroad.
                                                                                  The existence of nation-state threats means that we must ac-
                                                                               tively defend against any attempts to undermine faith in our demo-
                                                                               cratic institutions. In this regard, we hope to see Congress con-
                                                                               tinuing its work with State and local election officials to keep elec-
                                                                               tion systems secure. We commend Congress on its bipartisan in-
                                                                               vestment of an additional $425 million to help election officials
                                                                               modernize their infrastructure.
                                                                                  In closing, we remain fully committed to providing technology
                                                                               that supports free and fair elections. This includes support for an
                                                                               industry wide coordinated vulnerability disclosure program for vot-
                                                                               ing systems. We urge you to continue supporting and incentivizing
                                                                               real-time threat information sharing from the intelligence commu-
                                                                               nity, streamline certification options for patching and updating,
                                                                               and reliable baseline security standards for voting systems. All of
                                                                               these efforts will help make the voting process more secure.
                                                                                  Thank you again for the opportunity to share our company’s per-
                                                                               spective.
                                                                                  [The statement of Mr. Poulos follows:]
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